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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



In re Application of Anatolie Stati, Gabriel
Stati, Ascom Group, S.A., and Terra Raf Trans         No. 1:15-mc-91059-LTS
Traiding Ltd. for an Order Directing Discovery
from State Street Corporation Pursuant to 28
U.S.C. § 1782
                                                      Declaration of Nilufar R. Hossain in
                                                      Support of Petitioners’ Motion to
                                                      Compel Discovery


I, Nilufar R. Hossain, hereby state as follows:


       1.      I am an attorney duly admitted to practice in New York, New Jersey and

California. I am associated with the law firm of King & Spalding LLP, attorneys of record for

Anatolie Stati, Gabriel Stati, Ascom Group, S.A., and Terra Raf Trans Traiding Ltd.

(collectively, “Petitioners”) in this matter. The facts set forth herein are personally known to me,

and, if called as a witness, I could and would testify competently thereto.

I.     THE 1782 ORDER AND THE SUBPOENAS SERVED ON STATE STREET
       2.      On February 25, 2015, Petitioners applied to this Court for an order authorizing

Petitioners to issue subpoenas on State Street pursuant to 28 U.S.C. § 1782 (the “Subpoenas”).

The Subpoenas requested various categories of documents and a deposition witness concerning

assets belonging to the Republic of Kazakhstan (the “ROK”) that are located in the United

Kingdom and European Union and are managed by State Street Corporation (“State Street”).

The Subpoenas include 14 document production requests and one deposition request. To comply

with the geographic limitations set forth in Fed. R. Civ. P. 45, Petitioners designated Regus-TSG



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Reporting, a Boston-based entity, to receive all documents produced by State Street. True and

correct copy of the Subpoenas are attached hereto as Exhibit A.

          3.       This Court granted Petitioners § 1782 application and issued an order on March 2,

2015 authorizing Petitioners to serve the Subpoenas (the “1782 Order”). A true and correct copy

of the 1782 Order is attached hereto as Exhibit B.

          4.       Petitioners served the Subpoenas on State Street on August 3, 2017. 1 A true and

correct copy of the letter to State Street enclosing the Subpoenas is attached hereto as Exhibit C.

          5.       To date State Street has refused to comply with the Subpoenas.

II.       THE EUROPEAN PROCEEDINGS
          6.       Petitioners hold judgments against the ROK in Sweden, Belgium, France, and the

Netherlands; these judgments arise out of an arbitration award (the “ECT Award”) rendered in

Petitioners’ favor and against the ROK by a Stockholm-based arbitral tribunal on December 19,

2013. The ECT Award ordered the ROK to pay Petitioners USD 497,685,101.00, plus interest. 2

The ROK has refused to satisfy the Award, or the judgments recognizing it.

          7.       Petitioners have sought and obtained recognition of the ECT Award pursuant to

the Convention for the Recognition and Enforcement of Foreign Arbitral Awards (June 10,

1958), 21 U.S.T. 2517, 330 U.N.T.S. 38 (the “New York Convention”) in Belgium, France,

Luxembourg, and the Netherlands, and the ECT Award is directly enforceable in Sweden

1
      Owing to a miscommunication between Petitioners and the Court, and further as a result of the fact that the
      1782 Order was not entered into the ECF docket, Petitioners did not receive notice of the fact that its application
      had been granted until July 31, 2017. The Subpoenas were served promptly upon Petitioners having learned
      that the 1782 Order had been granted.
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      The Tribunal also ordered the ROK to pay USD 8,975,496.40 in legal fees as well as 802,103.24 EUR in
      arbitration costs.



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because it was rendered in Stockholm, Sweden (the “Swedish Judgment”). Petitioners are now

proceeding to enforce the resulting judgments under local law (such proceedings, the “European

Proceedings”).

       A.        THE SWEDISH PROCEEDINGS
       8.        As part of these efforts, Petitioners have attached assets they believe to be owned

by the ROK in several countries, including Sweden. Specifically, Petitioners have commenced

an action (the “Swedish Proceedings”) in the District Court of Stockholm, Division 3 (the

“Stockholm Court”) in connection with these attachments.            The Swedish Proceedings are

categorized as a “sequestration proceeding” under Swedish law.           Based on the Stockholm

Court’s ex parte provisional sequestration order, the Swedish Enforcement Authority rendered a

number of attachment decisions targeting specific property of the ROK. These decisions were

appealed by the ROK and the National Bank of Kazakhstan (“NBK”) to the District Court of

Nacka (the “Nacka Court,” collectively with the Stockholm Court, the “Swedish Courts”) on

October 13, 2017.

       9.        The ROK and the NBK have attempted to vacate the attachments granted in

Sweden by claiming, inter alia, that the assets do not belong to the ROK, but instead are assets

that comprise part of the ROK’s National Fund (one of its sovereign wealth funds), which the

ROK claims belong to the NBK, which it in turn claims to be a separate juridical entity whose

assets may not be attached in aid of the Swedish Judgment against the ROK.

       10.       Specifically, on October 20, 2017, the ROK filed a “Reply to Investors’

Application for Provisional Sequestration” (the “ROK Reply”) in the Stockholm Court. A true

and correct copy of the ROK Reply is attached hereto as Exhibit D.


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       11.     Under the Swedish Code of Judicial Procedure, in order to issue a sequestration

order, the Swedish Court must find that there is a risk of “sabotage,” i.e., that there is a danger

that the respondent will seek to transfer assets out of the jurisdiction and/or take other measures

to render itself judgment-proof in Sweden. The ROK Reply notes that the “risk of sabotage

should be objectively provable,” and asserts that “[a] fundamental condition is that the

respondent … have any ability at all to take the foreseen sabotage measure. Kazakhstan does

not have such an ability.” Ex. D, at 11 ¶ 54 (Emphasis added).

       12.     In sum, the ROK thus claims that it lacks the ability to engage in sabotage

because the assets at issue are owned and controlled by the NBK, and that it accordingly cannot

dispose of National Fund assets.   Ex. D, at 11-12 ¶¶ 54-60.

       13.     Petitioners intend to challenge the ROK’s claims concerning its ability to dispose,

transfer, or otherwise dispose of the attached assets in the Swedish Proceedings. The question of

whether, and how, the ROK can do so is a disputed factual issue that the Swedish Courts will be

required to adjudicate based on the parties’ respective proffers of evidence.

       14.     While the ROK has not yet filed papers opposing the attachments that have

occurred in the European Proceedings outside Sweden, Petitioners expect that it will do so, and

that to the extent the assets at issue are held in the name of the NBK, the National Fund, or

another of the ROK’s sovereign wealth funds, the ROK will make similar claims to the ones it

has made in Sweden, i.e., claims that the assets are not owned, controlled, or transferable by the

ROK and/or are otherwise not available for purposes of enforcing any of the relevant judgments.




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       15.     Each of the European Proceedings will, therefore, require an adjudication of

contested propositions of fact and disputed contentions of local law. The discovery materials

sought by the Subpoenas will be of use to Petitioners in litigating these proceedings.

       B.      STATE STREET’S RELATIONSHIP WITH THE NATIONAL FUND
       16.     As provided in the Declaration of Charlene C. Sun dated February 25, 2015,

documents published by the NBK show that one or more State Street entities manages or has

managed assets of the National Fund. This information suggests that State Street is a custodian

bank that manages the National Fund’s assets which are held by the NBK as a trustee, though the

ROK retains sole ownership of those assets. State Street is likely in possession of unique

documentation concerning the ownership and use of the National Fund assets it manages as a

custodian bank. This ownership evidence is critical to Petitioners to address the contested

ownership claims of the ROK and the NBK in the European and Swedish Proceedings.

       17.     Petitioners believe that, because State Street holds National Fund assets, its

records are likely to contain information that is probative concerning the legal and beneficial

ownership of those assets, and that information will be of use to Petitioners in contesting the

claims the ROK has made, and is likely to continue to make, in the Swedish Proceedings and the

European Proceedings.

III.   PETITIONERS’ REPEATED ATTEMPTS TO CONFER WITH STATE STREET
       18.     Over the course of the past three months, Petitioners have attempted to have a

meaningful discussion with State Street regarding the nature, scope and timing of the discovery

requests contained in the Subpoenas. These attempts have been routinely met with delay and

obfuscation, and to date, State Street has not produced any documents or a deposition witness.



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       19.     On August 11, 2017, Petitioners and State Street, via their respective counsel,

conferred via telephone regarding the Subpoenas (the “August 11 Discovery Conference

Request”). Counsel for both parties agreed that State Street would receive a two-week extension

“for its responses and/or objections” to the Subpoenas, until August 31st.             During the

teleconference, Petitioners’ counsel emphasized Petitioners’ willingness to work with State

Street’s counsel to minimize the burden of complying with the request. A true and correct copy

of the email exchange dated August 16, 2017 is attached hereto as Exhibit E.

       20.     On August 31, 2017, Petitioners’ counsel received a set of “responses” to the

Subpoenas that objected to the Subpoenas in their entirety (the “August 31 Objections”) and

categorically refused to provide any of the requested documents or information. A true and

correct copy of State Street’s August 31 Objections is attached hereto as Exhibit F.

       21.     In its objections, State Street counsel’s primary contention was that since the

relevant State Street entities were “located outside of the United States,” and that the Subpoenas

were “[in]appropriately directed to State Street Corporation [a Massachusetts-corporation which]

is not a party to the . . . action,” State Street was not obligated to comply. In its August 31

Objections, State Street contends that the State Street entities with the relevant records are

“located outside of the United States” such that the Subpoenas were “[in]appropriately directed

to State Street Corporation.” State Street identified these other entities as State Street Global

Advisors Limited, State Street Europe Limited and State Street Bank & Trust Company –

London Branch (the “Foreign State Street Entities”). After asserting that these entities hold the

relevant documents in their physical possession, State Street cites Fed. R. Civ. P. 45 to contend




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that it is a non-party protected “from being conscripted into service by litigants issuing, broad

overreaching subpoenas.” Ex. F.

        22.   Specifically, State Street stated that it objected to the Subpoenas on the grounds

that they:


              (i) fail to comply with the geographic limitations set forth in F.R.C.P.
              45(c);

              (ii) seek discovery that is not permissible under 28 U.S.C. § 1782 (citing
              Kestrel Coal Pty. Ltd. v. Joy Global, Inc., 362 F.3d 401, 404 (7th Cir.
              2004);

              (iii) fail to specify the person who is being subpoenaed, as required by
              F.R.C.P. 45(a)(1)(A)(iii), but rather purport to require State Street to
              identify a corporate designee (citing Hill v. Homeward Residential, 799
              F.3d 544 (6th Cir. 2015);

              (iv) impose undue burden and expense on State Street;

              (v) are overbroad, insofar as they seek documents and information that is
              outside the scope of and/or not relevant to the above-referenced action, nor
              reasonably calculated to lead to the discovery of admissible evidence;

              (vi) contain definitions, instructions, and requests that they are vague
              and/or ambiguous;

              (vii) seek confidential and proprietary financial information;

              (viii) require disclosure [of] confidential commercial information;

              (ix) seek information that may be discovered from the parties to this
              action, or from another third party, or by less intrusive means;

              (x) seek information that is more readily available from sources other than
              State Street;

              (xi) call for information already in your possession, custody or control;
              and/or




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               (xii) seek information protected by the attorney-client privilege, the
               attorney work product doctrine and/or any other applicable privilege,
               doctrine or immunity.”

Ex. F.

         23.   On September 11, 2017, Petitioners’ counsel responded via letter that each of the

August 31 Objections lacked any basis in the applicable law and reemphasized Petitioners’

willingness to confer further (the “September 11 Letter”) in an attempt to reach an agreeable

scope of production. Specifically, Petitioners emphasized that under the relevant law, “the

location of documents abroad [does] not preclude the production of documents which are under

the possession, custody, or control of Massachusetts residents” and that the relevant test is legal

“control” over documents, and not location or physical control. A true and correct copy of the

letter dated September 11, 2017 is attached hereto as Exhibit G.

         24.   Petitioners’ counsel also noted in the September 11 Letter that pursuant to Fed. R.

Civ. P. 30(b)(6), the Stati Group was “entitled to depose State Street Corporation on its corporate

knowledge about the Kazakhstan National Fund via a representative designated by State Street

Corporation.” Petitioners’ counsel again re-stated its willingness to work together to “find an

agreeable solution” thereby avoiding the “need to seek the Court’s intervention.” Exhibit G.

         25.   On September 19, 2017, State Street’s responded via email that it acknowledged

receipt of the September 11 Letter and would review it internally. A true and correct copy of the

email dated September 19, 2017 is attached hereto as Exhibit H.

         26.   State Street never provided any response to the legal arguments raised by

Petitioners in their September 11 letter. Having heard nothing further from State Street, on




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September 29, 2017, counsel for Petitioners requested an update from State Street’s counsel. A

true and correct copy of the emails dated September 29, 2017 is attached hereto as Exhibit H.

         27.    Counsel for State Street responded on the same day stating that, “We are still

evaluating the subpoena and your response to our objections. We will be back in touch.” Ex. H.

         28.     Petitioners’ counsel responded promptly that they were willing “to be flexible

concerning timing” but that it would be preferable to set a deadline. Ex. H.

         29.    A week later, on October 6, 2017, State Street’s counsel stated in an email that:

                I have heard from our client, the National Bank of Kazakhstan, that they
                will be intervening in this matter. I expect for them to be in touch with
                you shortly. In light of this development, I do not have a date at this time.

Ex. H.

         30.    Approximately two weeks later, on October 17, 2017, Petitioners’ counsel

received a letter from Reed Smith LLP (a) indicating that Reed Smith LLP would represent the

interests of NBK, and (b) requesting that Petitioners agree, no later than October 20, 2017, to

stay the Subpoenas pending the completion of several litigation proceedings in the United States

and elsewhere concerning the Award. A true and correct copy of the letter dated October 20,

2017 is attached hereto as Exhibit I.

         31.    Petitioners declined this request via email dated October 20, 2017. A true and

correct copy of the email dated October 20, 2017 is attached hereto as Exhibit J. 3




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    None of the other ROK-related entities about whose finances the Subpoenas seek information have made any
    outreach to Petitioners concerning the Subpoenas.



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       32.     On October 19, 2017, Petitioners’ counsel made one final attempt to schedule a

discovery conference with State Street’s counsel. Via email, Petitioners’ counsel stated that:

               We will address any objections raised by the NBK in due course if and
               when it intervenes in the case. As of now, it has not done so, and in the
               interim, however, we would like to clarify and address State Street’s
               position with respect to the subpoenas, as the objections you have asserted
               on behalf of State Street are distinct from the ones the NBK has suggested
               it may assert, and we believe they may and should be addressed
               independently of each other. I note that we wrote to you on September 11,
               2017 setting forth our position with respect to your objections and inviting
               a dialogue to discuss our disagreements. In the intervening month, State
               Street has not provided us with any substantive response, noting only that
               it was “reviewing” our letter and, on October 6, stating in an email that
               because the NBK had informed State Street that it planned to intervene,
               State Street could not provide us with an estimated time that it would
               respond to our September 11 letter.

               Based on your October 6 email to me (immediately below) and our prior
               correspondence (in the course of which you, in your letter dated August
               31, 2017, indicated that State Street considered the subpoenas to be
               ineffective and unenforceable, views that we, in our response of
               September 11, 2017, have contested), it is our understanding that State
               Street is unwilling at this time to comply in any manner with either of the
               subpoenas. If that is correct, we would appreciate your confirming that for
               us. If it is not, and State Street is willing to discuss its objections with the
               objective of reaching agreement on the subpoenas, we hereby request a
               conference with you as soon as possible to discuss your objections and any
               steps that might suffice to overcome them and enable State Street to
               comply with the subpoenas.

A true and correct copy of the email dated October 19, 2017 is attached hereto as Exhibit K.

       33.     On October 20, 2017, counsel for State Street indicated it was willing to hold a

discovery conference, though it did not express any willingness to provide any of the requested

discovery or suggest that it would be willing to do so following a conference. A true and correct

copy of the email dated October 20, 2017 is attached hereto as Exhibit L.




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         34.   That discovery conference was initially scheduled, at State Street’s request

(Petitioners had sought an earlier conference), for October 27, 2017. Ex. L.

         35.   State Street did not respond to Petitioners’ request to confirm a time on October

27 for the conference, prompting several follow up emails from Petitioners that went unanswered

until the morning of the scheduled conference. A true and correct copy of the email dated

October 26, 2017 is attached hereto as Exhibit M; see also Ex. L.

         36.   Early in the morning on October 27, 2017, State Street notified Petitioners that it

could not participate in a discovery conference that day and asked to reschedule. A true and

correct copy of the email dated October 27, 2017 is attached hereto as Exhibit N.

         37.   Petitioners agreed to reschedule the discovery conference for October 30, 2017.

Ex. N.

         38.   On the morning of October 30, 2017, State Street again requested that the

discovery conference be postponed. Specifically, State Street indicated that it had decided to

retain counsel, and that counsel would reach out on its behalf. Ex. N.

         39.   As of the time this motion was filed, Petitioners have not heard from State Street

or any attorney claiming to represent it in connection with this matter.

IV.      STATE STREET LIKELY HAS POSSESSION, CUSTODY AND CONTROL OF
         RESPONSIVE DOCUMENTS LOCATED ABROAD


         40.   Publicly available information demonstrates that several U.S.-based executives of

State Street serve a dual role as executives with the Foreign State Street Entities. For example:




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             a. Mr. Ronald P. O’Hanley serves as Vice Chairman of State Street and as President

                and CEO of State Street Global Advisors.         True and correct copies of Mr.

                O’Hanley’s public profile identifying his position at State Street and his location

                in Massachusetts are attached hereto as Exhibit O.

             b. Mr. Joseph Hooley is both the Chairman and CEO of State Street and a Director

                of State Street Bank & Trust. True and correct copies of Mr. Hooley’s public

                profile identifying his position at State Street and his location in Massachusetts is

                attached hereto as Exhibit P.

             c. Ms. Karen Keenan serves as Executive Vice President of State Street and as

                Chairman of State Street Europe. True and correct copies of Ms. Keenan’s public

                profile identifying her position at State Street and her location in Massachusetts is

                attached hereto as Exhibit Q.

       41.      On information and belief, each of these individuals maintains his or her office in

Massachusetts. Ex O, P, and Q.




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      I declare under penalty of perjury that the foregoing is true and correct.


Executed on November 6, 2017 in New York, New York




                                                            Nilufar R. Hossain




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